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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 ROBERT F. KENNEDY HUMAN
 RIGHTS; SOUTHERN BORDER
 COMMUNITIES COALITION;
 URBAN JUSTICE CENTER,

            Plaintiffs,                      Civil Action No. 25-1270-ACR

              v.

 U.S. DEPARTMENT OF HOMELAND
 SECURITY; KRISTI NOEM, in her
 official capacity as Secretary of
 Homeland Security,

            Defendants.



                                     [PROPOSED] ORDER

       Upon consideration of Plaintiffs’ motion for a preliminary injunction, and the full record

in this case, the Court grants a preliminary injunction as follows:

       It is hereby ORDERED that the motion is GRANTED; and

       It is further ORDERED, until further order of this Court, that:

       1. Defendants shall maintain and shall not delete, destroy, remove, or impair any data or

other records covered by the Federal Records Act, except in accordance with the procedures

described in 44 U.S.C. ch. 33;

       2. Defendants shall direct that all work of the Department of Homeland Security Office for

Civil Rights and Civil Liberties (CRCL), Office of the Citizenship and Immigration Services

Ombudsman (CISOM), and Office of the Immigration Detention Ombudsman (OIDO) that was

halted or suspended on or after March 21, 2025 shall resume, and that no work activities of CRCL,

CISOM, or OIDO shall be suspended or terminated absent an individualized assessment as to the
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impact of such a stoppage on the performance of statutory obligations, a consideration of the

impact of any such actions on the public, including any reliance interests, and a plan for the orderly

winddown of such activity, including for the transfer and/or preservation of data. To ensure that

this Court can award full relief at the end of the case, Defendants may not finalize the termination

of any such program or activity.

       3. Defendants shall restore to active work status any CRCL, CISOM, or OIDO employee

who was informed they would be subjected to a reduction-in-force on or around March 21, 2025,

or otherwise placed on administrative leave since that date, except any employee that Defendants

have concluded, based on an individualized assessment, should be separated from their position

for conduct or performance-based reasons.

       4. Defendants shall not terminate any CRCL, CISOM, or OIDO employee, except for cause

related to the specific employee’s performance or conduct.

       5. Defendants shall not issue any notice of reduction-in-force to any CRCL, CISOM, or

OIDO employee.

       6. Defendants shall rescind all notices of termination issued on or after March 21, 2025,

for contractors who were performing work for CRCL, CISOM, or OIDO, and shall not terminate

any such contracts or order any contractors to stop performing work for CRCL, CISOM, or OIDO,

unless such terminations are based on an individualized, performance- or conduct-based reason.

       SO ORDERED.

Dated: ________, 2025
                                                      ___________________________
                                                      ANA C. REYES
                                                      United States District Judge




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